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     DANNY D. BRACE, JR., #114466
1    LAW OFFICE OF DANNY D. BRACE, JR.
     901 H Street, Suite 500
2    Sacramento, CA 95814
     (916) 552-6660
3    Fax: (916) 447-0592
4    Attorney for Luis Manuel Sanchez-Aceves
5
                                 IN THE UNITED STATES DISTRICT COURT
6
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
7

8                                                    )   Case No.: 2:07 CR 00165 LKK
     UNITED STATES OF AMERICA,                       )
9                                                    )   STIPULATION AND ORDER TO EXTEND
                    Plaintiff,                       )   TIME FOR HEARING AND TO EXCLUDE
10                                                   )   TIME
             vs.                                     )
11                                                   )
     LUIS MANUEL SANCHEZ-ACEVES,                     )
12                                                   )
                    Defendant                        )
13
             The parties agree that time beginning January 12, 2010 and extending through January
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     26, 2010 should be excluded from the calculation of time under the Speedy Trial Act. (T-2 and
15
     T-4). The parties submit that the ends of justice are served by the Court excluding such time, so
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     that counsel for the defendant may have reasonable time necessary for effective preparation,
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     taking into account the exercise of due diligence, and so that the defendant may have continuity
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     of counsel. 18 U.S.C. § 3161(h)(8)(B)(iv). The parties stipulate and agree that the interests of
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     justice served by granting this continuance outweigh the best interests of the public and the
20
     defendant in a speedy trial. 18 U.S.C. §3161(h)(8)(A).
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             Furthermore, Defense counsel Danny D. Brace, Jr., is in Trial in Sacramento County
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     Superior Court, Department 33, People v. Jones. Said trial is expected to conclude by January 25,
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     2010.
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                                   STIP AND ORDER TO EXTEND TIME - 1
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1            The parties further request that this matter be taken off the January 12, 2010, calendar

2    and be rescheduled to January 26, 2010 at 9:15 a.m..

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5                                          Respectfully submitted,

6
     Date: 1-11-10                                                By: /s/ Danny D. Brace, Jr.,
7                                                                 DANNY D. BRACE, JR.,
                                                                  Attorney for
8
                                                                  Luis Manual Sanchez-Aceves
9

10
     Date:    1-11-10                                             By:/s/ Carolyn Delany
11                                                                Authorized to sign for Ms. Delany
                                                                  On January 12, 2010
12                                                                CAROLYN DELANY
                                                                  Assistant U.S. Attorney
13

14
     IT IS SO ORDERED:
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     Dated: January 11, 2010

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                                  STIP AND ORDER TO EXTEND TIME - 2
